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                     IN THE UNITED STATES DISTRICT COURT FOR THE                              FILED
                                                                                         IN OPEN COURT
                              EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division

                                                                                  CLERK. US. DISTRICT COURT
UNITED STATES OF AMERICA                         (UNDER SEAL)                          ALEXANDRIA VIRGINIA

        v.                                       CRIMINAL NO. Lll-CR-334


ALEJANDRO LOPEZ,                                 Count 1 -       21 U.S.C. §§ 959(a), 960, 963
        aka Angel,                                               (Conspiracy to Distribute Five
                                                                 Kilograms or More of Cocaine
and                                                              Knowing and Intending that it
                                                                 will be Unlawfully Imported
AYMAN JOUMAA,                                                    into the United States)

                       Defendants.                Count 2-       18 U.S.C. § 1956(h)
                                                                 (Conspiracy to Commit Money
                                                                 Laundering)

                                                  Forfeiture -   18 USC § 853, 970
                                                                 (Criminal Forfeiture)

                                 SUPERSEDING INDICTMENT


                        OCTOBER 2011 TERM - at Alexandria, Virginia

        THE GRAND JURY CHARGES THAT:


                                            COUNT 1


  (Conspiracy to Distribute Five Kilograms or More of Cocaine Knowing and Intending that it
                     would be Unlawfully Imported into the United States)

         From in or about 2004 and continuing thereafter up to on or about September 17, 2011,

the exact dates being unknown to the Grand Jury, in Colombia, Lebanon, Panama, and

elsewhere, the defendant, ALEJANDRO LOPEZ, aka Angel, AYMAN JOUMAA, and others

known and unknown to the Grand Jury, did knowingly and intentionally combine, conspire,

confederate, and agree to commit the following offense against the United States: to knowingly

and intentionally distribute five kilograms or more of a mixture and substance containing a
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detectable amount of cocaine, a Schedule II controlled substance, knowing and intending that

such substance would be unlawfully imported into the United States, in violation of Title 21,

United States Code, Section 959(a).

(In violation of Title 21, United States Code, Section 963).
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                                            COUNT 2


                           (Conspiracy to Commit Money Laundering)


       From in or about 2004 and continuing thereafter through on or about September 17, 2011,

in Colombia, Lebanon, Panama, and elsewhere, the defendant, ALEJANDRO LOPEZ, aka

Angel, AYMAN JOUMAA, and others known and unknown to the Grand Jury, did knowingly

and intentionally combine, conspire, confederate, and agreeto conduct financial transactions

involving the proceeds of a specified unlawful activity, to wit, the manufacture, importation, sale,

and distribution of a controlled substance, which financial transactions involving interstate and

international commerce were designed in whole and in part to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of a specified unlawful activity, to wit,

the manufacture, importation, sale, and distribution of a controlled substance, in violation of Title

18, United States Code, Section 1956(a)(l)(B)(i).

(In violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and (h)).
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                                    FORFEITURE NOTICE


        Each defendant, if convicted of the violation alleged in Count 1 of this Indictment, shall

forfeit to the United States pursuant to Title 21, United States Code, Section 853(a), any property

constituting, or derived from, any proceeds each defendant obtained, directly or indirectly, as the

result of such violation; and any of the defendants' property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, such violation. This property

includes, but is not limited to $5,000,000 in United States currency, representing proceeds that

the defendant obtained in the course of the conspiracy alleged in Count 1 of this Indictment.

        If convicted of the money laundering conspiracy charged in Count 2 of this Indictment,

each defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 982(a)(1), any property, real or personal, involved in such offense, or anyproperty

traceable to such property, including but not limited to $5,000,000 in United States currency,

representing proceeds that the defendant obtained in the course of the conspiracy alleged in

Count 2 of this Indictment.


(Pursuant to Title 21, United States Code, Section 853 and Title 18, United States Code, Section
982(a)(1)).
                                                      A TRUE BILL


                                                                 Pursuant to the E-Govemment Act,
                                                               theoriginal of this page hasbeen filed
                                                               under seal inthe ClenVs Office.
                                                      Foreperson
         Neil H. MacBride
         United States Attorney




By:
         Michael P.^6en'Ary
         Assistant United States Attorney
